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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

KENNETH C. MILLER and            §
SECLUDED ACRES, LLC              §
                                 §
      Plaintiffs                 §
                                 §
V.                               §                      CIVIL ACTION NO. 2:14-cv-00087
                                 §
THE CITY OF EAST MOUNTAIN, TEXAS §
and NEAL COULTER, Individually,  §
                                 §
      Defendants                 §


.
                         ORDER OF DISMISSAL WITH PREJUDICE

        On this day came on to be considered the Plaintiffs’ Motion to Dismiss with Prejudice as to

Defendants, the City of East Mountain, Texas and Neal Coulter, individually and as Mayor of the

City of East Mountain, Texas. After careful consideration, the Court is of the opinion that the

motion should be granted.

        It is therefore ORDERED, ADJUDGED and DECREED that this cause be and hereby is

dismissed with prejudice to the rights of Plaintiffs to refile same as to Defendants.

        Costs of court are to be paid by the parties.
        SIGNED this 3rd day of January, 2012.
       SIGNED this 13th day of March, 2015.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
